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                                 #:10103
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     2:22-cv-04355-JFW-JEM Document
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                                  #:10159
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     2:22-cv-04355-JFW-JEM Document
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     2:22-cv-04355-JFW-JEM Document
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                                  #:10162
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     2:22-cv-04355-JFW-JEM Document
                           Document163-44
                                    189-8 Filed
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                                  #:10167
                                  #:14211
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                                  #:10168
                                  #:14212
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     2:22-cv-04355-JFW-JEM Document
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